     Case 2:18-cv-00257-TOR        ECF No. 83   filed 08/15/19   PageID.4218 Page 1 of 3




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8                           UNITED STATES DISTRICT COURT
9               EASTERN DISTRICT OF WASHINGTON – SPOKANE
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12
     LAWRENCE DARREN MOLDER                      Case No. 2:18-CV-0257-TOR
13
                            Plaintiff,           NOTICE OF APPEARANCE ON
14
                                                 BEHALF OF PLAINTIFF
15   vs.
16   BNSF RAILWAY COMPANY, A
17   Delaware corporation,

18                          Defendant.
19

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21   TO: THE CLERK OF THE COURT; and
22   TO: ALL PARTIES AND COUNSEL OF RECORD.
23
           PLEASE TAKE NOTICE that plaintiff in the above-entitled action enters an
24
     appearance herein, by and through the undersigned attorneys of record, and
25
     requests that all further pleadings and papers, except original process, be served
26
     upon said attorneys.
27
     NOTICE OF APPEARANCE - 1
     Case 2:18-cv-00257-TOR    ECF No. 83    filed 08/15/19   PageID.4219 Page 2 of 3




1    Respectfully submitted this 15th of August, 2019.
2
                                                 s/ Heather C. Barden_____________
3                                                Heather C. Barden, WSBA #49316
                                                 Barden & Barden
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                                                 heather@bardenandbarden.net
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                                                 Fax 509-381-2159
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                                                 Attorney for Plaintiff
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     NOTICE OF APPEARANCE - 2
     Case 2:18-cv-00257-TOR      ECF No. 83    filed 08/15/19   PageID.4220 Page 3 of 3




1                             CERTIFICATE OF SERVICE
2
           I, Heather C. Barden, certify that on August 15, 2019 I caused the above
3
     document to be electronically filed with the Clerk of the Court using the CM/ECF
4
     System that automatically generates a Notice of Electronic Filling to all parties that
5
     are registered users of the CM/ECF System.
6          I certify under penalty of perjury under the laws of the United States that the
7    foregoing is true and correct.
8

9                                             s/ Heather C. Barden
                                              Heather C. Barden WSBA #49316
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                                              Barden & Barden
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14                                            Attorney for Plaintiff
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     NOTICE OF APPEARANCE - 3
